                          CR20-337 WHO
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                            FOR THE
                 NORTHERN DISTRICT OF CALIFORNIA
                                                                                  FILED
                                                                                    Sep 04 2020
                     VENUE: SAN FRANCISCO
                                                                                  SUSANY. SOONG
                                                                             CLERK, U.S. DISTRICT COURT
                                                                          NORTHERN DISTRICT OF CALIFORNIA
                         UNITED STATES OF AMERICA,                                 SAN FRANCISCO

                                           V.




                               JOSEPH SULLIVAN,




                                DEFENDANT(S).


                               INDICTMENT

     18 U.S.C. § 1505- Obstructing Proceedings of the Federal Trade Commission;
                        18 U.S.C. § 4- Misprision of a Felony




          A true bill.
                         Isl Forepers  he Grand Jury
                                     $
                                                              Foreman

          Filed in open court this     3rd         day of

                         September, 2020


                                                                Clerk


                                                Bail, $ No process
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                                              FILED
                                                Sep 04 2020

                                             SUSANY. SOONG
                                        CLERK, U.S. DISTRICT COURT
                                     NORTHERN DISTRICT OF CALIFORNIA
                                              SAN FRANCISCO




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